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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEW MEXICO
DREAMSTYLE REMODELING, INC., a
New Mexico corporation; DREAMSTYLE
REMODELING OF IDAHO, LLC, an Idaho
Limited liability company,

               Plaintiffs,

v.                                                            Case No. 1:19-cv-01086-KG-JFR

RENEWAL BY ANDERSEN, LLC, a
Minnesota limited liability company,
RENEWAL BY ANDERSEN
CORPORATION, a Minnesota Corporation,
ANDERSEN CORPORATION, a
Minnesota corporation,

               Defendants.

      ORDER APPROVING STIPULATION FOR DISMISSAL WITHOUT PREJUDICE

       The parties hereby stipulate and agreed that this action, including all claims and defenses

asserted by all parties, are dismissed without prejudice and without the award of costs, fees, or any

other amount to any party.

       IT IS HEREBY ORDERED:

       The parties’ Stipulation for Dismissal Without Prejudice (Doc. 42) is GRANTED.




                                                      ________________________________
                                                      UNITED STATES DISTRICT JUDGE
